Case 2:04-cr-20299-BBD Document 58 Filed 08/25/05 Page 1 of 2 Page|D 73

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEF|LED IN OPEN COURT

WESTERN DIvIsIoN DATE: 348 “§ § §
UNITED STATES oF AMERICA, ) .HME: di 3 7 Am
Plaintiff, § lNlTiALS:___L§Z:_-_
vs- § criminal No. 04-20299-1)
noNNIE JoHNsoN, i
Defendaot. §

 

ORDER DISMISSING INDICTMENT

 

This matter is before the court on the government’s motion to dismiss the indictment With

prejudice ln light of the government’s motion and for good cause shown, it is the order of the court
that lndictment 04-20299, is hereby dismissed With prejudice

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This notice confirms a copy of the document docketed as number 58 in
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Honorable Bernice Donald
US DISTRICT COURT

